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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:06:CR:179
v.
                                                      HON. GORDON J. QUIST
DANIEL JORGE MIRELEZ,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed December 26, 2006,

is approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Daniel Jorge Mirelez's plea of guilty to Count Two of the First

Superseding Indictment is accepted. Defendant Daniel Jorge Mirelez is adjudicated guilty and bond

will be revoked at the time of reporting.

       3.      Defendant Daniel Jorge Mirelez shall report to the United States Marshal in Grand

Rapids, Michigan, at 2:00 PM, Tuesday, January 30, 2007. Defendant Daniel Jorge Mirelez shall

be detained pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: January 16, 2007                                     /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
